      Case 4:19-cv-07123-PJH Document 62-1 Filed 04/30/20 Page 1 of 2




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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              SUPPLEMENTAL DECLARATION OF
                                               SHALEV HULIO IN SUPPORT OF
13                                             DEFENDANTS’ MOTION TO DISMISS
                 Plaintiffs,
                                               UNDER RULES 12(B)(1), 12(B)(2), AND
14                                             12(B)(6)
           v.
15                                             Date:   May 27, 2020
     NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,         Time:   9:00 a.m.
16                                             Ctrm:   3
17               Defendants.
                                               Action Filed: 10/29/2019
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     SUPPLEMENTAL DECLARATION OF                                  Case No. 4:19-cv-07123-PJH
     SHALEV HULIO IN SUPPORT OF
     MOTION TO DISMISS
      Case 4:19-cv-07123-PJH Document 62-1 Filed 04/30/20 Page 2 of 2




 1          I, Shalev Hulio, declare as follows:

 2          1.      I am a citizen and resident of Israel. I am the CEO and a co-founder of Defendant

 3   NSO Group Technologies Limited (“NSO”). Defendant Q Cyber Technologies Limited (“Q

 4 Cyber” and, collectively with NSO, “Defendants”) is NSO’s sole director and majority

 5 shareholder.

 6          2.      I have personal knowledge of the facts set forth herein and, except as otherwise

 7 stated, could testify competently to each fact averred herein.

 8          3.      In my position as CEO of NSO, I was not aware of any contract between NSO

 9 and QuadraNet. In response to the new assertions regarding QuadraNet in Plaintiffs’ opposition

10 to NSO’s motion to dismiss, I performed a diligent investigation into whether NSO has ever

11 entered into a contract with QuadraNet. My investigation confirmed my understanding that

12 neither Defendant has ever entered into any contract with QuadraNet.

13          4.      WestBridge Technologies, the company Plaintiffs describe as NSO’s “U.S.-based

14 marketing and sales arm,” shares a parent company with NSO but is neither NSO’s subsidiary

15 nor its “arm.” NSO exercises no control over WestBridge Technologies.

16          5.      None of the directors of NSO or Q Cyber reside in the United States. Contrary to

17 Plaintiffs’ unsupported assertion, Omri Lavie has not been a director of either NSO or Q Cyber

18 for more than three years.

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20          I declare under the penalty of perjury and the laws of the United States that the foregoing

21   is true and correct this 30th day of April 2020, at Tel Aviv, Israel.

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                                              SHALEV HULIO
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     REVISED DECLARATION OF                           1                      Case No. 4:19-cv-07123-PJH
     SHALEV HULIO IN SUPPORT OF
     MOTION TO DISMISS
